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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

GERALD HACKER,

               Plaintiff,

       vs.                                                            17 CV 4282

THOMAS DART, SHERIFF OF COOK COUNTY,                                  Honorable Judge
COOK COUNTY, ILLINOIS,                                                John Z. Lee
SABRIA RIVERO-CANCHOLA, AND
CORRECTIONAL OFFICER
D. SANDOVAL (STAR 17132),

               Defendants.

   DEFENDANT’S MOTION FOR LEAVE TO FILE HIS AMENDED RESPONSE IN
     OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

       Defendant THOMAS DART, Sheriff of Cook County (“Sheriff Dart”), by KIMBERLY M.

FOXX, State’s Attorney of Cook County, through her Assistant State’s Attorneys JAMES J.

CHANDLER and ANTHONY E. ZECCHIN, and pursuant to Rule 15(a)(2) of the Federal Rules of Civil

Procedure, moves this Honorable Court for leave to file his Amended Response in Opposition to

Plaintiff’s Motion for Class Certification. In support thereof, Sheriff Dart states as follows:

       1.      This lawsuit, filed on June 6, 2017, arises under Section 202 of the Americans with

Disabilities Act, 42 U.S.C. §12132, Section 504 of the Rehabilitation Act, 29 U.S.C. §794(a), and

42 U.S.C. §1983. Plaintiff, who has a substantial hearing impairment, alleges that Dart failed to

accommodate his disability while a detainee at the Cook County Department of Corrections.

       2.      On August 17, 2017, Plaintiff filed his motion for class certification, which this

Honorable Court denied without prejudice on July 5, 2018 (Doc. No. 34; Doc. No. 158).

       3.      Thereafter, on July 26, 2018, Plaintiff filed his renewed motion for class

certification (Doc. No. 163).
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       4.      The State’s Attorney’s Office (the “SAO”) retained an outside firm to serve as

Special Assistant State’s Attorneys and represent Sheriff Dart in this matter.

       5.      The SAO also represents Sheriff Dart and, by law, has final say over the arguments

that Sheriff Dart advances in this litigation. See, e.g., County of Cook ex rel. Rifkin v. Bear Stearns

& Co., 215 Ill. 2d 466, 478 (2005) (holding that “the legislature may not usurp [the]

constitutionally derived powers” of the State’s Attorney).

       6.      The State’s Attorney’s authority to represent county and state officers within his

county is derived from common law and statute but has been ruled “constitutional” authority by

the Illinois Supreme Court. See People ex rel. Courtney v. Ashton, 358 Ill. 146, 151 (1934); see

also People ex rel. Kuntsman v. Nagano, 389 Ill. 231, 249 (1945).

       7.      Where the duties of a constitutional officer such as the State’s Attorney are

definitively stated, the legislature cannot strip the State’s Attorney of her powers or transfer them

to others. Nagano, 389 Ill. at 249. Nor may the State’s Attorney’s duties be reduced either by the

County Board of Commissioners, Wilson v. County of Marshall, 257 Ill. App. 220, 224 (2nd Dist.

1930) or by the courts. Cf. People ex rel. Elliott v. Covelli, 415 Ill. 79, 88-89 (1953). To do so

would violate the separation of powers doctrine. See, e.g., Ill. Const. art. II, § 1 (1970).

       8.      The Special Assistant State’s Attorneys filed a response in opposition to Plaintiff’s

motion for class certification on August 23, 2018 (Doc. No. 171). The SAO did not have an

opportunity to review this response even though, by constitution, it has final say on the arguments

that are presented to the court in cases like the present one where the SAO represents a county

official such as the Sheriff. See Bear Stearns & Co., 215 Ill. 2d at 478.

       9.      As a result, several relevant arguments were not raised even though the SAO

wanted to advance them.




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        10.     The SAO submits that such arguments would assist this Honorable Court in

deciding whether to grant the renewed motion for class certification.

        11.     Sheriff Dart now seeks leave to file an Amended Response in Opposition to

Plaintiff’s Motion for Class Certification, in order to assert all relevant arguments in opposition to

class certification.

        12.     Rule 15(a)(2) of the Federal Rules of Civil Procedure governs when court approval

is needed to amend a pleading. Fed. R. Civ. P. 15(a)(2).

        13.     Leave to amend pleadings should be freely granted when justice so requires. Fed.

R. Civ. P. 15(a)(2); see also Foman v. Davis, 371 U.S. 178, 182 (1962). Indeed, leave should be

granted unless the movant acts with a bad faith or dilatory motive, or undue prejudice to the

opposing party would result. See Foman, 371 U.S. at 182; see also Airborne Beepers & Video, Inc.

v. AT & T Mobility LLC, 499 F. 3d 663, 666 (7th Cir. 2007).

        14.     To that end a court may use its authority to amend pleadings under Rule 15(a)(2)

in connection with a pretrial motion. See, e.g., Brown v. Hughes, 894 F. 2d 1533, 1539 (11th Cir.

1990); Sherman v. Hallbauer, 455 F. 2d 1236, 1242 (5th Cir. 1972).

        15.     This motion is brought in good faith and not for purposes of delay, and Plaintiff

will not be prejudiced in any way if Sheriff Dart is granted leave to file his amended response.

        16.     Plaintiff has not filed his reply brief and therefore he would have the opportunity

to respond to any additional arguments raised in Sheriff Dart’s Amended Response.

        17.     Sheriff Dart further submits that there is good cause for this Honorable Court to

grant him leave to file his amended response. A refusal to grant such leave would result in severe

prejudice to Sheriff Dart and the SAO, and would deny Sheriff Dart the ability to fully and fairly

present his case.




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       WHEREFORE, Defendant Thomas Dart, Sheriff of Cook County, pursuant to Rule

15(a)(2) of the Federal Ruls of Civil Procedure, respectfully requests that this Honorable Court

grant him leave to file his Amended Response in Opposition to Plaintiff’s Motion for Class

Certification, and prays for any other relief that this Honorable Court deems necessary and just.

                                                     Respectfully submitted,

                                                     KIMBERLY M. FOXX
                                                     State’s Attorney of Cook County

                                             By:     /s/ James J. Chandler
                                                     /s/ Anthony E. Zecchin
                                                     Assistant State’s Attorneys
                                                     500 Richard J. Daley Center
                                                     Chicago, Illinois 60602
                                                     (312) 603-3373
                                                     james.chandler@cookcountyil.gov
                                                     anthony.zecchin@cookcountyil.gov




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